                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JOHN MALOTT AND MICHELLE                             )
MALOTT,                                              )
                                                     )
        Plaintiffs,                                  )
                                                     )
v.                                                   )      Case No. 3:16-cv-0045
                                                     )      Judge Trauger
MARRIOTT HOTEL SERVICES, INC.,                       )
                                                     )
        Defendant.                                   )


                                 NOTICE OF SETTLEMENT


        The parties, by and through undersigned counsel, hereby give notice to the Court that the

Plaintiffs and Defendant have reached a settlement in this case. After Plaintiffs execute a

Release and Confidentiality Agreement, and any additional necessary documentation has been

exchanged, the Parties will submit a Stipulation of Dismissal with Prejudice concerning

Plaintiffs’ claims against Defendant pursuant to Rule 41(a)(1)(A)(ii).


                                             Respectfully submitted,

                                             SHUTTLEWORTH, PLLC


                                             /s/ Robert W. Briley
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                                                1

     Case 3:16-cv-00045 Document 108 Filed 06/04/18 Page 1 of 2 PageID #: 802
                               CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing Notice of Settlement has been filed with

the Clerk of the Court on June 4, 2018 using the CM/ECF system which sent notification of

this filing to all ECF registered counsel of record via e-mail generated by the Court’s ECF

system, on the following:

       Matthew C. Hardin, Esq.
       Mathew McFarland, Esq.
       Matt Hardin Law, PLLC
       28 White Bridge Road, Suite 400
       Nashville, TN 37205


                                                  /s/ Robert W. Briley
                                                  ROBERT W. BRILEY




                                              2

   Case 3:16-cv-00045 Document 108 Filed 06/04/18 Page 2 of 2 PageID #: 803
